Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 1 of 25

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SHERMAN LAMONT FIELDS

#15651-180

USP TERRE HAUTE

P.O. BOX 33

TERRE HAUTE, INDIANA
47808

Plaintif€,

Ve

DONALD J. TRUMP

PRESIDENT OF THE UNITED STATES
THE WHITE HOUSE

1600 PENNSYLVANIA AVE. NW.
WASHINGTON, DC 20500

and

WILLIAM P. BARR

ATTORNEY GENERAL

U.S. DEPARIMENT Of JUSTICE
950 PENNSYLVANIA AVE. NW.
WASHINGTON, DC 20530

and

(REGIONAL DIRECTOR), DIRECTOR
FEDERAL BUREA OF PRISONS

U.S. DEPARIMENT OF JUSTICE
320 FIRST ST., NW.
WASHINGTON, DC 20534

and

T. WATSON, WARDEN
U.S. PENITENTIARY TERRE HAUTE
4700 BUREA ROAD SOUTH
TERRE HAUTE, IN 47802

 

Case: 1:20-cv-02699  (F Deck)
Assigned To : Unassigned

Assign. Date : 9/22/2020
Description: Pro Se Gen. Civil
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 2 of 25
and

JOHN DOES

Individually and in their
official capacities,

Defendants.
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 3 of 25
COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF,

ATTORNEY FEES, AND COST OF SUIT, PURSUANT TO BIVENS V. SIX
UNKNOWN AGENTS, 403 U.S. 388, 390-97 (1971), MODEL PENAL
CODE 8 5.03 (Conspiracy) and CRIMINAL MALVERSION, AND
VIOLATIONS AND THREATENED VIOLATIONS OF THE SAFEGUARDS PUT

IN PLACE UNDER GREGG V. GEORGIA, 428 U.S. 153, 187, 96
S.Ct. 2909, 49 L.Ed. 2d 859 (1976).

I.
NAture of Action

1. This action is brought pursuant to (a) Bivens v. Six Unknown Agents, 403 U.S.
388, 390-97 (1971), for (i) violations and threatened violations of the plaintiffs‘
rights to Due process under the Fifth and Fourteenth Amendments to the United States
Constitution; (ii) violations and threatened violations of the Plaintiffs' rights
to be free from cruel and unusual punishment under the Eighth Amendment to the
United States Constitution; (iii) violations and threatened violations of the
plaintiffs' rights to equal protection under the Fourteenth Amendment to the United
States Constitution; and (b) violations and threatened violations of plaintiffs' rights
pursuant to Model Penal Code 8 5.03 (conspiracy) and Criminal Malversion; and (c)
violations and threatened violations of the SAFEGUARDS put in place under Gregg v.
Georgia, 428 U.S. 153, 187, 96 S.Ct. 2909, 49 L.Ed. 2d 859 (1976).

2. The Plaintiff have been sentenced to death under Federal law and, unless his
capital conviction and/or death sentence is overturned in another Judicial proceeding
he will be murdered by defendants pursuant to actions that violate the United
States Constitution and criminal law. The Plaintiff seek a preliminary and
permanent injunction preventing the defendants from doing so, an Order declaring
that the defendants actions violates the Fifth, Eighth and Fourteenth Amendments, -
and violates criminal code, procedure and statutes, and such other equitable
relief as the Court deems just and proper.

3. The Fifth Amendments Due process Clause requires notice and the opportunity
to be heard before the deprivation of Life, Liberty, or property. The defendants,
however, plaintiff believe, is planning to do a Legal act by. and through illegal
means and motive in retaliation for Plaintiff exercising his First Amendment
right. to Freedom of Speech, in violation of the Due Process Clause.

4 The Fifth and Fourteenth Amendments Due Process Clause is Broadly defined
as = Constitutional guarantee that no person shall be arbitrarily deprived of
his life, Liberty or property; the essence of Substantial Due Process is protection
from arbitrary and unreasonable action. Babineaux v. Judiciary Commission, La., 341 So.

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.24 396, 4002 SKstaeO ton AT? aISB, MOG chs dA? Paha amon BOE #01 Rog.
Pinkerton v. Farc, W. Va-, 220 S.E. .2d 682, 687. The defendants, however, plan
to murder the Plaintiffs despite an Unconstitutional breakdown in the safeguards

put in place under Gregg v. Georgia that ensure fundamental fairness.

5 It is a violation of the Eighth Amendment to use the Neath penalty in an
arbitrary and criminal manner. Furman v- Georgia, 408 U.S. 236, 273 (1972). on
information and belief, the reason defendants plan to kill plaintiff is arbitrary
and criminally motivated and thus in violation of the Bighth Amendments Cruel

and Unusual punishment clause.

6 It is a violation of the Eighth and Fourteenth Anendments to inflict a sentence
of death under a legal system that permit this unique penalty to be so wantonly
and so freakishly imposed; id. at Furman 310-313, 92 S.Ct. 2726, 33 L.Ed. 24 346
( White, J., concurring ). On information and belief, the defendants plan to xill
the plaintiffs despite an Unconstitutional breakdown in the SAFEGUARDS put ia
place under Gregze v. Georgia that assure that this unique punishment won't be so
wantonly and freakishly imposed.

7, The Fourteenth Amendments Equal protection Clause requires that " all persons
under like circumstances be given equal protection in the en‘joyment. of personal
rights and the prevention and redress of weongs. In re Adoption of Richardson, 251
CoA. 2d 222, 59 Cal. Rptr~323,334; The Constitutional guarantee of " equal
protection of the laws " means that no " person " or " class of persons " shall
be denied the same protection of the laws which is enjoyed by other persons or
other classes in like circumstances. People v. Jacobs, 27 Cal. App. 3d 246,103 Cal. Rptr.
936, 543; 14th Amend., U.S. Const; Recently, in the United States v. Michael Flyna,
defendant William P. Barr filed a motion to dismiss Federal Charges against
Me. Flym stating in several interviews that it was because his conviction is
“unfair " despite the fact that Mr. Flynn pled guilty (twice). Plaintiff, just
like Mr. Flyam was convicted " unfairly " in a Federal Court; See Sherman lamont
Fields v. Warden, No 2:16-cv-00418~JPH-MJD, Document 1, Filed 10/26/16 in the
Southern District of Indiana ( District of Incarceration ); And where defendant
Willian P. Barr has taken the position that Mr. Flynn should be absolved of all
blame despite admitting guilt. Mr. Bare has taken the position that Plaintité*
should be murdered despite the Overwhelming evidence of Plaintiffs’ innocence and
the fact that everything in regards to his trial and post conviction was unfair;
It is a violation of the Fourteenth Amendment for defendant to declare one
Federal conviction “ unfair "' and seek to have the charges dismissed vhile
denying the same protection of the laws to another federally convicted person
Whexe the evidence show that he was treated " unfairly " as well.
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 5 of 25
8. The Plaintif€ was sentenced to death pursuant to 18 U.S.C. 8 924(c), (4) which
authorizes a sentence of death if the underlying crime is a " crime of violence ";
Plaintiffe' underlying " crime of violence "is " escape " where he used a key to
4 fire escape door and walked away from a Federal ‘jail where he was being held on

firearm charges.

9 The Plaintiff was sentenced to Death pucsuant to the FEDERAL DEATH PENALTY
ACT or ( "FDPA") which authorizes a sentence of Death in cectain circumstances.
The FDPA, however, must adhere to the SASRGUARDS put in place under Grege v. Georgia .
Due to the immense Constitutional violation(s) in Plaintiff Sherman Lamont Fields
pending $ 2241 in the Southern District of Indiana, at 2:16-cv-0418-JPH-MJD and

the wrongful coaviction(s) and Unconstitutional Marder of the innocent by State(s)
that also adhere to the same SAFEGUARDS; See Cameron Todd Wiliiagham (5th Cir.)
(Posthumous Pardon); Laccy Ruffin (5th Cic.) (Posthunous Pardon); Caclos DeLuna
(Sth Circ.) (Posthumous Pardon) ; Timothy Cole (5th Cir. )(Posthumous Pardon); Jonathon
Hoffman, Glen Edwacds Chapman, and Levon “Bo™ Jones (North Carolina) (exonerated);
there is no doubt that the SafECUARDS put in place under GREGG v. GEORGIA is
inadequate to protect against wrongful conviction, unconstitutional executions
and/or the arbitrary and capricious nature of the law, and thus without " adequate
safeguards " the constitutional prohibition against ' Cruel and Unusual Punishments '
would forbid [the] use " of the Death Penalty; See Ring v. Acizona, 536 U.S. 584 ,
614, 122 S.Ct. 2428, 153_L.Ed. 2d 556 (2002)(Breyer, J., concurring in judgement).
Without adequate SAFEGUARDS the infliction of ANY Death Sentence is arbitrary,
capricious, an abuse of discretion and otherwise not in accordance with law.

10. Gongress enacted the FDPA counting on the assumption that the SAFEGUARDS put
in place in Gregs v. Georgia was enough to ensure reliability, and at the time
that was the genecal consensus, however since Gcege further Constitutional problem(s)
have emerged. In the past fouc-plus decades the advent of more reliable forensic
techniques-particularly DNA evidence has revealed that innocent people are
Sentenced to death with stactling frequency, and it's equally clear that executions
(mucder) of the innocent have actually been carried out.

The evidence is unequivocal, since 1989 more than a hundred individuals who were
Sentenced to death have been formally exonerated of their ccimes of conviction, there
have been hundreds upon hundreds more that were not sentenced to death that was
exonerated. ( See National Registry of exonerations http: //www-umich.edu/special/
exoneration/pages/exonerations~in-the-Uni ted-States-Map.aspx.); ( The innocent and
the Death penalty, http: //awe-imnocenceproject .org/Content/1857 -p2p.); (www. lawnorthwestern
-edu/weongfulconvictions/How Saitch lestimony sent Randy Steidl and other innocent |
Anericans to Death Row); and (www. innccenceproject .org/content/Caneron todd _
Willingham Posthumous Pacdon Filing Documents -php). Since 1973 approximately

3.
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 6 of 25

4% of death row inmates have been determined to be actually innocent. See Gross

et al., gate of False Conviction of criminal defendants. This/These developments
now render the FDPA and the Death Penalty as a whole Unconstitutional; See Marbury
v. Madison, 5 U.S. 137 1 Ccanch 137, 176, 2 L.&d. 60 (1803); the exoneration and

' the execution(s) of the innocent unequivocally prove that the Death Penalty, in any
form " abridge the rights of the people and violate the Constitution "; Jf the
SAFEGUARDS put in place in Gregg v. Georgia was adequate there would be no need

to exonerate the innocent. NOR would the innocent would have been MURDERED via this
Unconstitutional law. In continuing to carry out executions, the defendants have
arbitrarily and capriciously failed to honestly and Lawfully exercise their authority
to enforce the Scriptures of Gregez and its progency.

11. Congress established a scheme that criminalizes any legal act committed or
intended to be committed by and through illegal, means with criminal motivation.
Criminal statutes makes it uilawful, to uae the Death penalty as a murder weapon
with criminal intent and when the perpetrators possess the required state of
mind. 18 U.S.C. §8 . The defendants intend to murder Plaintiff via lethal
injection for exercising his first Amendment right to Freedom of Speech for weiting
a Book and a Movie in opposition to President Donald J. Trump. In doing so the
defendants have arbitvarily and capriciously violated Plaintiffs' Constitutional
rights.

12 The claims in this Complaint are cognizable under Bivens and the Fifth,
Eighth and Fourteenth Amendments, as well as Model Penal Code € 5,03 (conspiracy)
and criminal Malversion. This lawsuit is not, and should not be treated as, a.
successor habeas corpus petition. See Nelson v. Campbell, 541 U.S. 637 (2004). In
this action, the plaintifé do not challenge the validity of his convictions or:
death sentence. Rather, he claim that the motivation behind the intended execution
of his death sentence is criminal and in violation of the Fifth » Eighth and
Fourteenth Amendments to the United States Constitution and criminal law.
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 7 of 25
IT

PARTIES

13. Plaintif£ Sherman Lamont Fields is a United States Citizen and a resident
of the State of Texas. He is a death-sentenced inmate in the custody of the
defendants, and under the control and supervision of the Federal Bureau of Prisons,
a department of the United States Department of Justice ["BOP"], He is incarcerated
at the U.S. Penitentiary in Terre Haute, Indiana. If his Capital conviction and/or
death sentence isn't overturned in another judicial proceeding, the defendants will
murder him in the " death house “ located on the grounds of the U.S. Penitentiary
Terre haute.

14. Defendant Donald J. Trump is the president of the United States. He appointed
William P. Barr as Attorney General and often refers to him as " My Attorney General."
He is sued here in his individual and official capacity for the purpose of obtaining
declaratory and injunctive relief.

15. Defendant William P. Barr is the Attorney General of the United States. The
Plaintiff was remanded into his custody upon his conviction and the imposition of
hisideath sentence, and he is the final executive Authority responsible for carrying
out sentences of death against federal prisoners. He is sued here in his individual and
official capacity for the purpose of obtaining declaratory and injunctive relief.

16 Defendant (Regional Director) "Kreuger" (sic) is the Director of the BOP.
As such he is charged with prescribing and directing, and is authorized to prescribe
and direct, the promilgation of rules and regulations for the BOP, including the
rules and regulations for conduct of prison operations and procedures. He is sued
here in his individual and official capacity for the purpose of obtaining declaratory
and injunctive relief.

17 Defendant T. Watson is the WARDEN of the United States Penitentiary, Terre
Haute which is the prison at which sentences of death are executed in the federal
system. He is sued here in his individual and official capacity for the purpose of
obtaining declaratory and injunctive relief.

18. Defendants JOHN DOES are employed by the government in different capacities
and either knowingly or by and through association joined in the conspiracy to
violate Plaintiffs' Constitutional rights. The Plaintiff do not know, and the
defendants have not revealed their identities,
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 8 of 25

19, ‘The defendants are acting, and each of them at) all times relevant hereto
were acting, in their respective official capacities with respect to all acts
described herein, and were in each instance acting under color and Authority of
federal law. Upon information and belief, unless preliminarily and permanently
enjoined, the defendants, and each of them, intend to act in their respective
official capacities and under the authority of federal law in murdering the
Plaintiff, in violation of the Plaintiffs' Constitutional and Statutory rights.

ITI

JURISDICTION AND VENUE

20. This Court has jurisdiction over this matter pursuant to 28 U.S.C. 88 1331,
in that it arises under the Constitution and laws of the United States; Bivens,
403 U.S. at 390-97, in that it seeks to secure prospective, equitable relief
directly under the Constitution, specifically the Fifth, Eighth and Fourteenth
Amendments; Under 28 U.S.C. § 2201(a), in that one purpose of this action is to
secure preliminary and permanent injunctive relief.

21. ‘This court has venue under 28 U.S.C. 88 1301(b)(2), in that a substantial
part of the events giving rise to the claims made herein-i.e., the formulation of

the " plan " to murder Plaintiff via lethal injection-took place in this District |
Alternatively, this Court has venue under 28 U.S.C. 88 1391(b)(3) because defendants ,

Donald J. Trump and William P. Barr reside here.

Iv
FACTS

 

22. The Plaintiff incorporate by reference all facts and allegations contained
in paragraphs 1-21.

23. The Plaintif£ was convicted and sentenced to death in 2004 in the United
States district Court for the Western District of Texas. ( Plaintiff WAS Nor
charged with murder.) In 2007 his conviction was confirmed on direct appeal. In
2008 the Supreme Court denied cert.; In 2010 Counsel for Plaintiff filed habeas

6

 
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 9 of 25

in the Western District ofi Texas and Plaintiff immediately notified the Court

that the Petition was " incomplete ". The Court didn't respond. In 2013 the
District Court denied Habeas based on an Unreasonable Determination of the facts
and Plaintiff immediately filed an Actual Innocence brief in the Fifth Circuit along
with several Motions. ‘

Counsel for Plaintif€ was told to respond and based on Counsel's response (i.e.)
Plaintiffs’ " pro se motion isn't actually a "pro se" Motion, he only ask to
be able to file his brief and Motions " ). On 10/23/13 the Fifth Cireuit denied
the Motion to proceed Pro Se.

24. On 10/30/13 the Fifth Circuit notified Plaintiff that they won't consider
his brief and Motions.

25. Plaintiff responded asking the Court to allow his brief and Motions to
elther work in conjunction with whatever Counsel intended to file, or to allow his
“filings " to stand alone. But on 11/18/13 the Court refused again.

26. Counsel for Plaintiff had yet to file a brief and Plaintiff responded to
the Fifth Circuit stating that he don't want to rely on the unseen brief that
Counsel intended to file and asked the Court to reconsider.

27. On 12/5/13 the Fifth Circuit responded stating that only Plaintiffs' attorneys
can file on his behalf.

28. On 12/12/13 Plaintiff received a copy of the brief that Counsel filed on
his behalf and Plaintiff immediately filed a Motion for Reconsideration of his
Pro Se filings, stating that he " strenuously object " toe the brief that Counsel
filed.

' 29, On 12/24/13 Plaintiff filed another Motion to " Reurge filings ".

30:. On 1/14/2014 the Fifth Circuit entered an Order not to accept "anything"
that Plaintiff file. .
Plaintiff then filed in the Supreme Court. In June 2014 the Supreme Court
notified Plaintiff that he would have to wait until the Fifth Circuit ruled on his COA. |
Plaintiff responded to the Supreme Court explaining the aforementioned steps taken.
On 8/15/14 the Supreme Court informed Plaintiff that he would have to file in

the lower Courts.
That. same month the Fifth Circuit denied COA based on the brief that Counsel

filed alleging that Actual Innocence isn't cognizable in their Circuit and falsely
Claimed that Plaintiff didn't assert issues that he clearly did assert in the brief
and Motions that they refused to let him file Pro Se.

7

 
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 10 of 25

31. On June 4, 2015 the Supreme Court denied cert.

32. Plaintiff attempted to file in the Supreme Court again and was told that he would
have to file in the " District of Incarceration."

33. Plaintiff filed here in the Southern District of Indiana and was told to inform
the court how his petition fit into 2255(e).

34. Plaintiffe’ 2255 attorney's attached to the Petition and unbeknow to

Plaintif£ they pulled the Petition out of Court. When Plaintiff eventually found
out that the Petition was no longer pending Plaintiff restructured and refiled
pursuant to 2241 along with a “ writ of error coram nobis “ and a “ writ of
conspiracy ". The Court dismissed the writ(s) as being ” premature " and Ordered
the government to respond to the & 2241 where Plaintiff stated nine issues:

1. He was denied hia right to file a Pro Se brief and Motions.
2. Judicial bias.

3. Violations of Brady v. Maryland.

4. Actual Innocence.

5. Criminal act(s) committed by the U.S. Government.

6. Fraud on the Court.

7. Plaintiffs convictions/death sentence was influenced
by passion, prejudice and other | arbitrary factors.

8. The antiterrorism and Effective DeATH penalty Act

ig Dllegal and Unconstitutional.
9. The Death Penalty is Illegal and Unconstitutional.

‘35. Six months later in April 2017, 2255 Counsel for Plaintiff attached to
the & 2241 and Amended it with a " Johngon Issue " pursuant to Johnson v. U.S.
135 S.Ct. 2552 (2015).

36. The government responded and asked the Court to dismiss Plaintiffs 8 2241,
both the Pro Se issues and the " Johnson issue ", or in the alternative STAY
the Petition until the Supreme Court rule in the U.S. v. Davis, 139 S.Ct. 2319
The Court STAYED the Petition. ,

37. On 8/15/18 the Court reissued the STAY to allow the parties to attempt to
reach an " agreed resolution " and Counsel flew to Texas to meet with the
prosecution.

38. Upon returning from the meeting Counsel informed Plaintif£ that the
government. might be willing to dismiss the death penalty action if Plaintiff

8.

 
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 11 of 25

agree not to challenge a -25 year sentence that he received for "carjacking".

39. Plaintiff rejected that tentative " offer " because at trial the government
lied and said " there was no fingerprints or nothing, this thing was clean ", while
all the time they had twelve latent prints all of AFIS quality and they had checked
the prints against Plaintiffs prints and knew that he was not the culprit.

40. Plaintiff countered stating " At this point I ‘just want to go home to my family,
tell them that I'll plead “ No Contest " just to absolve the government of any blame,
but they have to let me go and it's over with."

41. Counsel relayed this to the government and was told that they " don't have
authority to make that deal " so they will have to " take it up the chain of
command to the Do ".

42. In 2016 when Donald Trump was elected President Plaintif£ wrete a Book
( App. 1 ) and a Movie ( App. 2 ) in opposition of Trump and sent them out to
several Agents in New York and Los Angeles; When Donald Trump started going after any and
everybody that write about him in a negative manner Plaintiff realized that one or
several of the Agents could be Donald Trump's friends and/or supporters and notified
him to the existence of the Book and the Movie so Plaintiff started writing
Congress sending them copies of the Book and Movie and telling them that ( Trump )
Inight be coming after him; Plaintiff wrote congress through 2019.

43, The government came back to Plaintiff after " going up the chain of command "
and informed Plaintiff that the DOJ want him to " admit guilt " and " give them a
statement " and they will let him live.

44, Plaintiff responded: "I can't admit to something I didn't do. And
what do they want me to do, make something up?"

45. In June 2019 in the U.S. v. Davis, the Supreme Court’ tuled that the
residual Clause in 924(c) is Unconstitutional and the Southern District of
Indiana ordered. briefing.

46. On July 25, 2019 Attorney General William Barr started the Pederal
Death penalty back up.

47. Also in July 2019 the Court Appointed Plaintiff new Counsel from the Indiana
Public Defenders office, Plaintiff immediately informed them that Donald Trump
and William Barr was coming after him and the first dates set was just “casualties"
on their quest to get to the Plaintiff, explaining that it would be too obvious if
they went after Plaintiff first.

 
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 12 of 25

Counsel for Plaintiff said that Trump and Barr wouldn't go after Plaintiff
because Plaintiff have active Litigation.

48. Shortly thereafter Plaintiff got a letter from Republican Congressman Larry
Buschon stating that Congresswoman Iyana Pressley sent him the documants that
Plaintiff sent her.

It was at that point that Plaintiff realized that everytime he wrote Congress
they just saw the “ Indimna ” address and sent it straight to Indiana Congressmen,
whom all, just so happen to be aligned with Donald Trump.

49. Plaintif£ wrote Congresswoman Iyana Pressley again and asked her why
would ahe send something in opposition of Trump that's seeking to have Teump
investigated for possible illegal motive to a Republican Senator that could
possibly alert Teump that a Death Row Inmate is seeking to have him investigated?
To date there has been no response.

50. On July 29, 2020 an ionate | dnformed PlaintLf£ that since July 25,,
2019 William Barr has had a List of thirteen individuals| here on, Federal Death
Row that he's going to kill if and/or before Donald Teunp Llosa the election. Mr.
said that his lawyer told hin that inmates Purkay, Honken and Lee, whom was
executed July 14th, July 16th, and July 17th of this year was on the List along
with inmates Mitchell, Bourgeois, LeCroy, Vialva, Bernard, Nelson, Holder, Higgs,
and Yes the Plaintiff, Mc. Fields.

51. The question is: How and why did Plaintiff get on that List? There are over
twenty inmates that have exhausted all of their appeals and some have no Active
litigation, Plaintiff have a Petition Pursuant to 2255(h) in the 5th Circuit
Court of Appeals where the prosecution already admits that Plaintiffa' Death
Sentence is invalid pursuant to | . U.S. v- Davis; Supra. Petitioner also have
a petition pursuant to § 2241 here in the Southern District of Indiana ( Actual
Innocence ); there is no reason why Plaintiff should ba on that execution list
UNLESS there ia criminal motivation behind it.

52. It's a proven fact that Donald Trump go after everyone whom dare “ cross him ",
and he has blatantly sicked " his " Attorney General. William Barr on those that
he consider to be an “enemy " oc a “ threat " to his political carear. On too
many occassions to count Truap have “ went after " American Citizens and pushed
WLLLien Barc to flaunt tha RULE of law for his benefit:

10

 
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 13 of 25

- Just recently the DOJ had Trump's Ex Attorney Michael
Gohen sent back to prison because he refused to sign
a declaration stating that he won't release a book
about Trump.

- Trump attacked a Federal Judge claiming that he couldn't
do his job " because he's mexican ".

- Tcump attacked his own Niece for writing a book
about him.

~ Teunp attacked John Bolton for writing a book about him.

~ Trump Attacked Amorosa Manigault (sic ) for writing
a book about hin.

- Teump repeatedly attack the Media for pointing out his
blatant Lies.

- Trump attacked Senator Mitt Romney for voting against him.

~ Teump attacked Senator John Mccain for not supporting
hin.

~ Tcunp attacked his own Attorney General. Jeff Sessions for
not “ protecting hin.”

- Trump has attacked several Justices on the Supreme Court

And the list goes on and on. Due to Trump's pattern of revenge attacks, his
constant blatant lies about his wrongdoing, and William Barr's propensity to

" protect Trump " by any and all means necessary it would be a deciliction of

duty to allow Trump and Barr to keep using the Death penalty as a murdex weapon
with evil and corcupt motive; To believe that Republican Congressmen that know
about a Book and a Movie in opposition of Teump and didn't alert Trump and Barr
about its existence during this phase of Partisan politics, whera they continue to
vote with him, promote his agenda...even when it's wrong, and protect him by
trying to discredit anyone that accuse him of anything, then there is a WILLFUL
BLINDNESS to the truth; And to know that Trump attack everyone else personally and
by and through “ his " attorney General William Barr, but choose to ignore
Plaintiff and his Book and Movie is again, WILLFUL BLINDNESS to the truth.

Again, how did an inmate with a pending Actual Innocence patition get picked to ba

"executed " before even some people with nothing pending in Court? The:| answer
lies in Tcump and Bare's erratic behavior and this Court have a duty to find the truth.

11

 
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 14 of 25

53 In Lackey v. Texas, 514 U.S. 1045, 115 S.Ct. 1421, (quoting Gregg ), the
Court held that the Eighth Amendment does not prohibit Capital Punishment because,
(1). The Death Penalty was considered penmissible by the Framers, see Id., at 177,
96 S.Ct., at 2927 (opinion of Stewart, Powell, and Stevens, JJ.) and (2). The
Death penalty might serve " two principle social purposes: retribution and
deterrence," id. at 183, 96 S.Ct., at 2929-2930. However that " argunent/opinion"
Should no longer be permissible. The Framers of our Constitution had some Good
ideals and some very very bad ideals, and just Like Slavery ( a punishment that our
Framers also considered permissible ), the Death penalty is one of those very very
bad ideals. The parallel between the two is uncanny; slavery, just like the death
penalty was born out of, what would be today a violation of the United States
Constitution. When the " Franers " implemented the Death penalty minorities and
wonen alike were both suppressed, neither could vote, thus the Death penalty is

the " brainchild" and was considered "permissible" by the Anglo Anerican male,

and the Anglo American male alone, which violates the equal protection Clause of

today and substantial Due Process, and it renders the Death penalty Cruel and

Unusual. Just because the ™ modern day framers " went ia and tweaked the

Constitution it doasn't sean that the Death penalty is now fair and balanced and it
don"t still victimize the people, as evidenced in the many exonerations and Unconstitut-
ional murders of the inaocent via lethal iajection. LE you build a new howe Oil a

oroken foundation that house is still doomed to fail; That's exactly what we are
dealing with today. If in fact, Donald Trump and william Bace is indaed carrying out
these executions as any @any aews Leports suggest, then it's act for the purpose of
retribution and deterrence; Lackey; Supra, but it's for the purpose of attempting

to fuctner their owa self interest in the political arena, which in and of itself defies
tha Scriptures of Gregs, thus further proving that the SAFEGUARDS is inadequate

to do what they wece intended.

54 Plaintiff Sherman iamont Fields was sentenced to die in the Western
District of Texas ( Waco Division ) (Sth Cir.). Fields have always maintained that he
is innocent of the crime(s) of conviction. id. at Shennan Lamont Fields v. Warden,
2: 16-cv-0418 JPH-MJD §$ 2241 (Pending) in the Southern District of Indiana. In that
petition Piaintiff not oniy points out who the real culprits of the —— are,
along with sufficient evidence to back it up. BUI Plaintiff also put forth voluminous
evidence showing that he was FRAMED for the crimwe(s) of conviction by police,
prosecutors and “” Crooks " whom the government hired to Lie, but Plaintiff also
put forth evidence of Judicial Bias at trial and on appeai, Brady violations, .
Fraud on the Court(s) and criminal act(s) committed by the prosecution and their cabal.

12
The Chief Judes of the Southern District of Indiana found Plaintites Sttegations
persuasive enough to allow Plaintiff to " pursue his Actual Innocence claim "=

In Fields case the prosecution lied and said that there were no fingerprints when there
wece ( that don't match Plaintiff ); The prosecution iied and said that they didn't

find blood in tne vehicle that Plaintiff was driving on the night of the murder

because the cat “ Looked wiped down or detailed ", while knowing ail along that the

car WAS NOY GLEAN and Forensics have technology that would have still found blood even
if that were true. The prosecution helped the reali murderer(s) conceal the car

that they were driving when the murder occured by lying and saying that the car was BLUE,
wiile evidence and a two year old delay and admission from one of the murderer(s)

admits that they were in a GOLD car;

when Plaintiff impeached one of the murderecs about her testimony that Plaintiff

called her and “ told her " very grapnic details of the micder that oniy the killer would
know, the prosecutor blatantly defrauded the Court claiming that the phone records that
Plaintiff presented to prove that the prosecutions Star Witness was lying did not

show the call " because phone records only show calls to and from cell phones ";

The trial Judge was friends with the attorney for the victim family and did everything

he could to prevent Plaintiffs exoneration, even " making ™ Plaintiff proceed pro se at
teial even though Plaintiff said, " Your Honor I can't do this, I'm not learned in the law".
Then on appeal Plaintiff drew Judge Edith Jones, a 5th Circuit Judge that said that

" Black people are predisposed to violence ", " Black males are the most violent "| "No
one is innocent ", and she and the trial Judge both Unconstitutionally denied all of
Plaintiffs appeals based on an unreasonable determination of the facts and the law.

55 Even with the " death is different " standard, and the standard of
" heightened reliability " nothing can protect against the deliberate, intentional, knowing
and willful disregard of the SAFEGUARDS put in place to protect against wrongful
conviction and or place the death penalty in a zone to make it faic where it's not
arbitrarily and capriciously imposed or executed. Nor can any SAFEGUARD protect
against the knowing, intentional, willful and deliberate choice of human error. When
a Politician can come in and " kill people at will " in order to prop up his
political career the death penalty is no longer being utilized for what it was intended
to do, now it’s being maliciously executed and this allows for people with
Unconstitutional motive to use this Constitutional Law in a criminal and
Unconstitutional manner; For those reasons and more the death penalty should be
deemed Unconstitutional.

13:
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 16 of 25

V.

First Claim: FIFTH AMENDMENT VIOLATION-DENTAL OF DUE PROCESS

56'. Plaintiff incorporate by reference the allegations of paragraphs
1 through 55.

57. The FIFTH AMENDMENT prohibits the federal government from deepriving a
person of Life, Liberty, ox property without Due Process of law. The Constitutional
protections encompassed by the Due Process Clause do not abate at the time of
imprisonment. Hudson v. Falmer, 468 U.S. 517, _, 104 S.Ct. 3194, 3206, 82 L.Ed. 2d
393 (1984) ( O'Conner, J. concurring ). However, this is where it gets tricky.
According to the law the govermient have a right to execute a prisoner that is
sentenced to death once his § 2255 is final...BUT the government DO NOT’ have the right
to commit MURDER in the Pretense of Justice as Plaintiff allege. " Aside from
all else ‘Due Process " means fundamental fairness," Pinkerton v. Farr, W. Va..3
220 S.E. 2d 682, 687; There is nothing " fair " about a “criminally motivated"
execution. In fact, an execution that’s arbitrarily and capriclously carried out
is MURDER in the criminal sense, this kind of official. conduct involves the
willfully illegal exercise of discretion, and it implicate substantial Due Process
because it affects Plaintiffs' right to be free of the Abuse of Power; See Rochin,
342 U.S.! at 172; Black v. Lane, 22 F.3d 1395, 1403 (7th Cir. 1994); Cale v. Jolmson,
861 F.2d 943, 949 (6th Cir. 1988); Franco v. Kelly, 854 F.2d 584, 589 (2d Cir. 1988).
Both Donald J. Trump and William P. Barr both are in the ultimate position(s) to
Abuse their power and Petitioners assertion that they are " After him " because
of the Book and Movie that he wrote about Trump is typical of this Administration
for exercising their first Amendment right to Free Speedch.

" An act taken in retaliation for the exercise of a Constitutionally protected
right violates the Constitution. See Mt. Healthy City Sch. Dist. Bd. of Educ. v. Doyle,,
429 U.S. 274, 283-84, 50 L.Ed. 2d 471, 97 S.Ct. 568 (1977); Matzker v. Herr, 748
F.2d 1142, 1150 (7th Cir. 1984), limited on other grounds, Salazar v. City of
Chicago, 940 F.2d 233, 240-41 (7th Cir. 1991). Plaintiffs' allegations adequately
set forth a chronology of events from which retaliation may be inferred. See Black,
22 F.3d at 1399. And failure to intervene will not only result in a fundamental
miscarriage of Justice, but the Court, albeit unknowingly will also be Aiding and
Abetting criminal homicide.

14.

 
"the touanrdnd Cot pne PBckss ‘ ROGHBedt Lon HEME Rider aA Goh het arbitrary
action of government." See, e.g., Wolff v-.McDonmell, 418 U.S. 539, 558 (1974);
Fuentes v. Shevin, 407 U.S. 67, 82 (1972) ( the procedural Due Process guarantee
protects against " arbitrary takings " ); ( even if the " taking " is the arbitrary
taking of Life ); Daniels v. Williams, 474 U.S. 327, 331 ( the substantive Due
Process guarantee protects against government power arbitrarily and oppressively
exercised.) The defendants, acting under Color of Federal law plan to murder
Plaintiff in the Pretense of Justice for exercising his right to freedom of speech
in violation of the Due Process clause.

58 ‘The defendants, acting under color of federal law, have refused to
abide by the Scriptures of Gregg v. Georgia, by pressing forward with.these
executions despite the breakdown in the SAFEGUARDS put in place ‘to ensure
fundamental fairness.

VI.

SECOND CLAIM: EIGHTH AMENDMENT VEOLATIONGRUEL AND UNUSUAL PUNISHMENT.

59. Plaintiff incorporate by reference the allegations of paragraphs 1 through 58.

60. The Eighth Amendment forbids the willful, arbitrary, = and capricious
use of the Death Penalty to commit criminal homicide.

61. As the Supreme Court has ruled ” prisoners " that is " the victim of an
officials Abuse of Power would have to bring a claim under the Eighth Amendment.
Hudson, 468 U.S. at 530; Johnson v. Phelan, 69 F.3d 144, 147 (7th Cir. 1995), cert.
denied, Johnson v. Sheahan, 136 L.Ed. 2d 397, 117 S.Ct. 506 (1996)3 Willians
v. Boles, 841 F.2d 181, 183 (7th Cir. 1988). There is no greater and unprecedented
Abuse of Power thani the President of the United States and the Attorney General
conspiring to MURDER a prisoner for exercising his freedom of speech in opposition
to the President, in a way as to make the MURDER" appear " legal. Yet as Judge
Friemily and Judge Nelson have observed, “ the rubric of punishment is ill-suited
to covering a vindictive and anarchic act..." Johnson v. Glick, 484 F.2d 1028,
1032 (2d Gir. 1973) (Friendly, J.) In Whitley v. Albers, 475 U.S. at 314, the Court
held that the punishuent was " deliberately administered " where a prison guard
wrongly shot a prisoner, that bar is pretty low in comparison to Plaintiffs case.

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Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 18 of 25

Here in Fields‘ case, unlike.Wihitley there will be no recovery for Trump: and Barr's
actions because Plaintiff will be deceased. An act such as this that's motivated by
evil motive and intent and involves the reckless and callous indifference to
Plaintiffa' right to be free of the Abuse of Power ™ shocks the conscience " and
violates the Plaintiffs’ Constitutional Rights to be free from arbitrary, capricious,
cruel and Unusual Punishment, which right is secured and guaranteed to Plaintiff by the
Eighth Amendment of: the United States Constitution.

62 ‘The Eight Amendment forbids the government, in carrying out a death sentence
where the evidence show ( waw.innocenceproject.org/content/Cameron_Todd_ Willingham __
Posthumous Pacdon Filing Documents.php ) that the SAFEGUARDS put in place under
GREGG v- GHORGIA is no longer adequate; See Ring v. Arizona, 536 U.S. 584-, 614,

122 S.Ck. 2428, 153 L.Ed .2d 556 (2002 ) ( explaining that without adequate
SAFEGUARDS, ‘ the constitutional prohibition against ' cruel and unusual punishments '
would forbid [the] use ” of the Death penalty.)

63 ‘The defendants, acting under color of federal Law, intend to execute the
Plaintiff despite the Unconstitutional breakdown in the Safeguards put in place
Constitutionality of the Death Penalty was handed down it " relied heavily on the
belief that adequate procedures were in place that would avoid the danger of
discriminatory application identified by Justice Douglas" opinion in Furman,

id., at 240-257, 96 S.Ct. 2726, 33 L.Ed. 2d 346 (concurring opinion), of

acbitcacy application identified by Justice Stewart, id., at 306, 92 S.Ct. 2726,

33 L.Ed. 2d 346 (same), and of excessiveness identified by Justices Brennan and
Marshall. The " disgraceful distorting effects of racial discrimination and poverty
continue to be painfully visible in the imposition of death sentences." See Godfrey

v. Georgia, 64 L.Ed. 2d 398, 446 U.S. 420; In Plaintiff Fields’ case there were
jurors that equivocated that “ Black males are violent "; " Black people blame too many
of their problems on race "; " A group of " Blacks " jumped on my daughter and ay
son-in-law ; “ A Biack person Lied on me before “, etcetera, etcetera, etcetera,

in an Actual innocence case where a bias Judge forced Fields to proceed Pro Se and the
Prosecutor struck five of the only six black jurors and kept the one Black juror

with ties to Law enforcement. And if that isn’t enough racial animous, Plaintiff
winds up with an appellate Judge that is also racist; The SAFEGUARDS, or No

SAFEGUARDS could protect the Plaintiff from that. There is no doubt that Fields'
sentence was acbitcarily and capriciously imposed and upheld in violation of

Fucman v. Georgia, (1972) 408 US 238, 33 L.Ed. 2d 346, 92 S.ct. 2726. Ina

concucring opinion by Mc. Justice Douglas, it was stated that a penalty should

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Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 19 of 25

be unusually imposed if it is administered arbitrarily or discriminatorily. No
one can honestly say that the Death penalty isn't being arbitrarily 24 discriminatorily
imposed as laid out Supra; Since the opinion in Gregg innocent people have been
executed (murdered), and there is no doubt that there are more innocent people sitting
on Death Row waiting to be murdered for crime(s) that they DID NOT commit; This
violation of Due Process is Cruel and Unusual punishment which " shocks the
conscience." Imagine Cameron Todd Willinghams fright and terror as he was being
strapped to the gurney; Imagine his loved ones unbearable pain. Even in comparison
with the guilty on death row, the remedy would and could be Life in prison for the
truly guilty, Mr. Willingham and those like Mr. Willingham, to include the Plaintiff
Sherman Lamont Fields, they can't be brought back from Death, making this unique
punishment the only law that allows ( police, prosecutors, and witnesses ) to get
away with Murder; That within itself is Unconstitutional and in violation of
Marbury v. Madison; Supra. The SAFEGUARDS put in place in Gregg v. Georgia can no
longer be deemed " adequate ", making the Death Penalty Unconstitutional.

vit.

THIRD CLAIM: EIGHTH AMENDMENT VIOLATION-DELIBERATE INDIFFERENCE

64. Plaintiff incorporate by reference the allegations of paragraphs 1-63

65. The Eighth Amendment forbids " deliberate indifference " to the law, and
to a substantial risk of serious harm to an inmate. Farmer v. Brennan, 511 U.S.

825, 834 (1994)

66. As stated above the 1976 decision upholding the Constitutionality of the
death penalty was handed down with the " belief that adequate procedures were in
place that would avoid the danger of discriminatory application; See Gregg v. Georgia;
Supra. Evidence and recent history have proven that that is not the case. Pre Gregg
had the Court known about the Unconstitutional murders of the innocent via
lethal injection the death penalty would have unquestionably remained Unconstitutional.
But hindsight is 20/20, we can't correct the past we can only prevent the future from
continuing to go wrong. The defendants insistance upon carrying out these
unconstitutional executions despite the breakdown in the SAFEGUARDS and the scriptures
of Gregg and its progency violate the Plaintiffs rights, secured and guaranteed to
him by the Eighth Amendment of the United States Constitution to be free from
deliberate indifference, such arbitrary and capricious action violate the United
States Constitution.

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Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 20 of 25
67. In the Capital context. where the penalty is not reversible once carried out

one cannot be deliberately indifferent to a defendants life as the defendants are here.
“ Death is different “ ; States mist ensure the penalty is reliably imposed, and
decades of evidence reveal that they cannot. Grege, 438 U.S. at 188; The defendants
being deliberately indifferent is a microcosm of the problems with the death penalty
as a whole.

68. The President of the United States, Donald J. Trump and “his" Attormey General
is supposed to be ™ above the fray " when it come to personal attacks and vendettas
against the American people; the very people that they both took an oath to serve
and protect, yet Trump and Barr have both shown that that is not the case; ( Trump with
his vicious attacks on multiple American citizens ) and ( Barr with his disparaging
of law enforcement and his ow Department of Justice in order to protect Trump ). Now
that they‘ve been given free reign to violate their oath(s) of office, both have now
elevated their official misconduct to murder, disguised as " Justice ".

69. The Ghronology of events in which their retaliatory acts may be inferred is
‘ sufficiently serious '; Fanner v. Brennan, Supra, (quoting) Wilson v. Seiter,
501 U.S. 294, 298, 115 L.Ed. 2d 271, 111 S.Ct. 2321 (1991). Murder by those that
swear to protect and serve is intentional and rise to the level of deliberate
indifference.

VIII.

FOURTH CLAIM: FOURTEENTH AMENDMENT VIOLATION-DENTAL OF EQUAL RIGHTS
70. Plaintiff Incorporate by reference the allegations of paragraphs 1-69.

71. The Equal Protection Clause grants to all Americans the " right to be free
from Invidious discrimination in statutory classifications and other government
activity.” Harris v. McRae, 448 U.S. 279, 322, 100 S.Ct. 2671, 65 L.Ed. 2d 784
(1980) " Equal Protection principles command that No State or the Federal Government
*** shall deny to any person within its jurisdiction the equal protection

18
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 21 of 25

OF THE LAWS,"' WHICH IS ESSENTIALLY A DIRECTION THAT ALL PERSONS SIMILARLY

SITUATED SHOULD BE TREATED ALIKE." City o£ Cleburne v. Cleburne Living Ctr., 473

U.S. 432, 439 (1985)(citing: Plyler ve Doe, 457 U.S. 202, 216 (1982)). President

Tcump and Attorney General Barr are both Chief law Enforcement officers of the

United States whose Authority and jurisdiction govern Federal Convictions and

sentences and as such they have the right to execute and/or vacate sentences within the
meaning of the law. Both Trump and Barr have equivocated that Several Federal
defendants ( which just so happen to ba Trump's friends and Allies ) were treated

" unfairly " by the Justice system and moved to vacate their Convictions and/or
sentences, even those, or at least one that have admitted guilt; (i.e.) Michael.

Flynn.

72., Plaintiff, just like Trumps friends and Allies is a Federal Defendant
under the Authority and Jurisdiction of both Tcump and Bacr. Since the standard
bearer isn’t the Nature of the alleged Federal crime, but rathec “ whether or not
the Justice system was fair or “ unfair " then Plaintiff is similarly situated
as Trumps friends and Allies, being that the process for Plaintiff was "Unfair"
as well. See Sherman Lamont Fields v. Warden, No. 2:16-cv-00418-JPH-MJD, Document
1, Filed 10/26/16. And where Trump Ally and Friend Michael Flynn pled guilty (twice),
Plaintif£ have consistently maintained his innocence and the evidence proves said
innocence. The Equal Protection Clause demands that Plaintiff be treated in a similar
manner to Trumps friends and Allies.

73. President Trunp have shown that he has an implicit bias towards " People
of color,". Plaintiff believes that this racial animus combined with the fact that
Plaintifé wrote the Book and Movie about him is the reason why Trump and Barr
have refused to provide, Plaintiff with the Equal Protection of the laws that was
provided to Tcumps friends and Allies. Williams v. Bramer, 180 F.3d at 706; Bell v.
City of Milwaukee, 746 F.2d 1205, 1259 (7th Gir. 1984). Notably, Michael Flynn
is of caucasian descent, Plaintiff is " of color " African Anerican, they're
both under the authority and Jurisdiction of Trump, Barr and the federal
government and Plaintiff was treated unfairly throughout his criminal. proceedings,

Tcump and Barr both claim that Michael Flynn was treated " unfairly ", besides their

race the only difference between the two is that Michael Flynn pled guilty and
the Plainti££ has always maintained his innocence. Yet the " guilty party " is
the one that get his conviction vacated, According. “to Trump and Barr. ‘Thus it's
apparent that Plaintiff was purposefully treated differently because of his race;
Sae Washington v. Davis, 426 U.S. 229, 239-42, 48 L.Ed. 2d 597, 96 S.Ct. 2040
(1976); Indianapolis Minority Contractors Ass'n, Inc. v. Wiley, 187 F.3d 743, 752 (7th Cir

1999)

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Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 22 of 25

TX.

FIFTH CLAIM: CRIMINAL STATUTE VIOLATIONS-CONSPIRACYCRIMINAL MALVERSION3
MODEL PENAL CONDE 8 5.01

74, Plaintiff incorporate by reference the allegations of paragraphs 1-73.

75 « ‘the Chronology of events as described Supra infer criminal intent; (1) Plaintiff
wrote a book and a Movie that ultimately ended up in the hands of Trumps friends
and Allies; (2) Trump attacks everyone that write a book about him and/or who
oppose him. (3) William Barr have shown that he will. do and/or say anything to
protect Trump; (4) After the prosecution takes Plaintiffs’ Counter offer up the
" chain of command " to the DOJ their "offer" went from ( We might be willing to
throw out the Death Penalty if Plaintiff agree not to challenge the carjacking )
to ( We want you to "admit guilt" and “ Give us a statement"); (5) Plaintiff
rejected that “offec" and William Barr starts the Federal Death Penalty back up
after 17-yeare claiming that he's doing it for " the victims family," despite
the fact that the Eirst ona executed, Daniel Lewis Lee's victim family expressly
said that they dida't want Lee executed; (6) Plaintiff is on a list of 13
inmates to be “executed™ before and/or if Trump lose the election, although the
government have conceded that Plaintiffs" death sentence is invalid, AND Plaintiff
have a pending Actual Innocence petition; (7) Tcunp and William Barr press
to get a guilty Federal defendants’ conviction vacated because it was “unfair”,
but press to mucder Plaintiff, who'S innocent and his conviction was "unfair" as
well, and the only difference between the two defendants besides the fact that
Plaintif€ is innocent and Flynn is guilty is the obvious, one is African American
and the other one is whites; One is ‘Trumps’ friend and one opposes Trump.

76. The Chronology of events infer that Trump and Bacc's actions encompass a
broad category of corrupt official practices; Jimenez v. Aristeguieta, Cols, Fla.,
311 F.2d 547, 562, not the least of them being the criminal act of conspiracy to
Murder the Plaintiff.

77. Title 18 U.S.C. 8 371 holds that " If two or more persous conspire either

to commit any offense against the United States, or to defraud the United States
or any agency thereof in any manner or for any purpose, and one or more of such

persons do any act to effect the object of the conspiracy, each shall be fined
under this Title or imprisoned not more than five years or both. "

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Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 23 of 25

78 Attorney General, William Barc ". restarted the Federal peath penalty back up “

after almost 1?~years and put the innocent Plaintiff on the List to be Murdered in \
order to " effect the object of the conspixacy "; Some jurisdictions do not require
an overt act as an element of the crime., e.g. Com. V. Hacris, 232 Mags. 588, 122

N.E. 749. And the defendants attempt to conceal. theic true motive by claiming “

that they ace extracting "justice" has all actual consequences and all legal.

effects of actual Fraud. Agair Inc. v. Shaeffer, 232 Cal. App.. 2d 513, 42 Cal. Rptr.
883, 886. “ Breach of legal or equitable duty which iccespective of moral guilt, is
declared by law to be fraudulent because of its tendency to deceive others or

violate confidence ." Daves v. Lawyers Sur. Corp., Tex. Civ. App. 459 S.W. 2d 655, 657.

79, Because of the defendants actions Plaintiff is in immediate danger of sustaining
a direct injury as a result of their official conduct. Such arbitrary and capricious
action violates Criminal law.
X.
PRAYER FOR RELIEF

80. In order to prevent the defendants from violating the Plaintiffs’ rights
under the Fifth, Eighth and Fourteenth Anendments to the United States Constitution
and violating Criminal law, ang ‘the Scriptures of Grege v. Georgia .
and its progency, the Plaintiff request that this Court grant preliminary and
permanent injunctive relief barring the defendants from murdering Plaintif£ by means
of lethal injection.

81. The Plaintiff is entitled to a preliminary injunction barcing the defendants
from murdering him because (A) there is a significant Likelihood that Plaintiff
wiLL prevail on the merits; (b) the Plaintiff will suffer irreparable harm if he
is mucdered via lethal injection; (c) there is a compelling public interest in
ensuring that our government not behave like dictators and use a legal punishment in
an illegal. manner; (d) The defendants intended actions is violative of our Nations
Constitutional proscriptions against Cruel and unusual punishment; (e) there is a
substantial possibility that the Anerican people will Lose faith in our Justice system
if the defendants are allowed to proceed with this Unconstitutional mucder; and (£)
there is a substantial possibility that others under a sentence of death will
suffer unconstitutional executions like those that were innocent when they were
executed unless thig Court requice tne defendants to halt these executions until
new SAFEGUARDS can be adopted,

21
Case 1:20-cv-02699-JEB Document1 Filed 09/22/20 Page 24 of 25

82. The Plaintiff do not seek relief herein as a means of attacking his underlying
conviction or death sentence; rather than seeking to stop his murder per se, he seek

to stop the defendants from executing him in a criminal manner and with that state of
mind, disguised as “justice”, and in which violates his Constitutional and

statutory rights; The plaintiff seek to stop executions amid the BREAKDOWN OF

THE SAFEGUARDS that violate the Constitution.

83. The Plaintiff further request that this Court grant declaratory relief by
issuing an Order declaring that the defendants intentions regarding execution
violate the Fifth, Eighth and Fourteenth Amendments to the United States Constitution,
and violate Criminal Law, and the SAFEGUARDS put in place under Gregg v. Georgia.

84. The Plaintiff request that this Court appoint Counsel to represent Plaintiff
in this Action and grant reasonable attorney fees pursuant to 42 U.S.C. § 1988 and
the laws of the United States.

85. The Plaintiff request that the Court grant such further relief as it
deems just and proper.

Dated: August 9, 2020

Respectfully Submitted

Shave: wie ae ant t Faris, Grif Ze,

#15651-180

USP Terre Haute

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Pro Se.

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